                  No. 24-12311


IN THE UNITED STATES COURT OF APPEALS
      FOR THE ELEVENTH CIRCUIT


        UNITED STATES OF AMERICA,

                              Plaintiff-Appellant,

                        v.

 WALTINE NAUTA and CARLOS DE OLIVEIRA,

                              Defendants-Appellees.


  On Appeal from the United States District Court
       for the Southern District of Florida


                    NOTICE


                             BRIAN M. BOYNTON
                               Principal Deputy Assistant Attorney
                                  General
                             MARKENZY LAPOINTE
                              United States Attorney
                             MARK R. FREEMAN
                              Appellate Staff
                              Civil Division, Room 7519
                              U.S. Department of Justice
                              950 Pennsylvania Avenue NW
                              Washington, DC 20530
                              (202) 514-5714
      AMENDED CERTIFICATE OF INTERESTED PERSONS AND
            CORPORATE DISCLOSURE STATEMENT

       Pursuant to Eleventh Circuit Rule 26.1-1, counsel for Plaintiff-Appellant the

United States of America certify that the following have an interest in the outcome of

this appeal:


       1.      Advance Publications, Inc.

       2.      Alonso, Cristina

       3.      America First Legal Foundation

       4.      America First Policy Institute

       5.      America’s Future

       6.      American Broadcasting Companies, Inc., d/b/a ABC News

       7.      American Center for Law and Justice

       8.      Ayer, Donald

       9.      Bell, Daniel W.

       10.     Berry, Michael

       11.     Bird, Brenna

       12.     Blackman, Joshua

       13.     Blanche, Todd

       14.     Bloomberg, L.P.

       15.     Bondi, Pamela J.

       16.     Boos, Michael
17.   Bove, Emil

18.   Bowman, Chad

19.   Bratt, Jay

20.   Cable News Network, Inc.

21.   Calabresi, Steven

22.   Caldera, Louis

23.   Cannon, Hon. Aileen

24.   Cate, Matthew

25.   CBS Broadcasting, Inc. o/b/o CBS News

26.   Citizens for Responsibility and Ethics in Washington

27.   Citizens United

28.   Citizens United Foundation

29.   *Clark, Jeffrey B.

30.   CMG Media Corporation

31.   Coleman, Russell

32.   Coleman, Tom

33.   Commonwealth of Kentucky

34.   Conservative Legal Defense and Education Fund

35.   Conway, George

36.   Cooney, J.P.

37.   Cox Enterprises, Inc. (COX) d/b/a The Atlanta Journal-Constitution
                                   ii
38.   Cynkar, Robert J.

39.   Dadan, Sasha

40.   De Oliveira, Carlos

41.   Dow Jones & Company, Inc., publisher of The Wall Street Journal

42.   Dreeben, Michael

43.   Drummond, Gentner

44.   Edelstein, Julie

45.   Ekonomou, Andrew J.

46.   Fields, Lazaro

47.   Fitzgerald, Patrick

48.   Forrester, Nathan A.

49.   Fort Myers Broadcasting Company

50.   Freeman, Mark R.

51.   Fugate, Rachel

52.   Garland, Merrick B.

53.   Gerson, Stuart

54.   Gertner, Nancy

55.   Gilbert, Karen E.

56.   Gillers, Stephen

57.   Goodman, Hon. Jonathan

                                 iii
58.   Gray Media Group, Inc. (GTN)

59.   Griffin, Tim

60.   Guardian News & Media Limited

61.   Gun Owners Foundation

62.   Gun Owners of America

63.   Gun Owners of California

64.   Harbach, David

65.   Heigis, Eric

66.   Henneke, Robert

67.   Hilgers, Michael T.

68.   Hirsch, Steven A.

69.   Hulser, Raymond

70.   Insider, Inc.

71.   Irving, John

72.   Jackley, Marty J.

73.   Jorjani, Daniel H.

74.   Kise, Christopher

75.   Klugh, Jr., Richard Carroll

76.   Klukowski, Kenneth A.

77.   Knudsen, Austin

78.   Kobach, Kris
                                    iv
79.   Kozinski, Alex

80.   Labrador, Raúl R.

81.   Lacovara, Philip Allen

82.   Landmark Legal Foundation

83.   Lapointe, Markenzy

84.   Lawson, Gary

      Los Angeles Times Communications LLC, publisher of The Los Angeles
      Times
85.   *MacDougald, Harry W.

86.   Marshall, Steve

87.   Maynard, Hon. Shaniek Mills

88.   McElroy, Dana J.

89.   McKay, John

90.   McNamara, Anne

91.   McSweeney, Patrick M.

92.   Meese, Edwin

93.   Miller, Justin A.

94.   Miller, Matthew

95.   Mishkin, Maxwell

96.   Moelker, Nathan J.

97.   Monson, Darrick W.

98.   Moody, Ashley
                                    v
99.   Morgan, Jeremiah L.

100. Morrisey, Patrick

101. Mukasey, Hon. Michael B.

102. Murrell, Larry Donald

103. National Cable Satellite Corporation d/b/a C-SPAN

104. National Public Radio, Inc.

105. Nauta, Waltine

106. NBCUniversal Media, LLC d/b/a NBC News, a subsidiary of Comcast
     Corporation (CMCSA)

107. Nielson, Aaron L.

108. Olson, William J.

109. One Nation Under God Foundation

110. Orlando Sentinel Media Group, publisher of the Orlando Sentinel

111. Paxton, Ken

112. Pearce, James

113. Pellettieri, John

114. Pettit, Lanora C.

115. POLITICO LLC

116. Potter, Trevor

117. Public Advocate of the United States

118. Radio Television Digital News Association

                                   vi
119. Raul, Alan Charles

120. Ray, Robert W.

121. Reinhart, Hon. Bruce E.

122. Reuters News & Media, Inc.

123. Reyes, Sean

124. Rokita, Theodore E.

125. Roth, Stuart J.

126. Russell, Lauren

127. Salario, Samuel

128. Sample, James J.

129. Sasso, Michael

130. Schaerr, Gene

131. Sekulow, Jay Alan

132. Sekulow, Jordan

133. Seligman, Matthew

134. Sisney, Benjamin P.

135. Skrmetti, Jonathan

136. Smith, Abbe

137. Smith, Fern

138. Smith, Jack

139. State Democracy Defenders Action
                                  vii
140. State of Alabama

141. State of Alaska

142. State of Arkansas

143. State of Florida

144. State of Idaho

145. State of Indiana

146. State of Iowa

147. State of Kansas

148. State of Louisiana

149. State of Mississippi

150. State of Missouri

151. State of Montana

152. State of Nebraska

153. State of Oklahoma

154. State of South Carolina

155. State of South Dakota

156. State of Tennessee

157. State of Texas

158. State of Utah

159. State of West Virginia

160. Steinman, Jessica Hart
                               viii
161. Sun-Sentinel Company, LLC, publisher of the South Florida Sun Sentinel

162. TEGNA, Inc. (TGNA)

163. Telemundo Network Group, LLC d/b/a Noticias Telemundo

164. Texas Public Policy Foundation

165. Thakur, Michael

166. The Associated Press

167. The E.W. Scripps Company (SSP)

168. The McClatchy Company, LLC (MNI) d/b/a the Miami Herald

169. The New York Times Company (NYT)

170. The Palm Beach Post and USA TODAY, publications operated by
     subsidiaries of Gannett Co., Inc. (GCI)

171. Thompson, Larry

172. Tillman, Seth Barrett

173. Tobin, Charles

174. Torres, Hon. Edwin

175. Treg, Taylor

176. Trent, Edward H.

177. Tribe, Laurence

178. Troye, Olivia

179. Trump, Donald J.

180. Trusty, James

                                 ix
181. Twardy, Stanley

182. United States of America

183. Univision Networks & Studios, Inc.

184. U.S. Constitutional Rights Legal Defense Fund

185. VanDevender, Cecil

186. Webster, Brent

187. Weiss, Stephen

188. Weld, William

189. Weldon, Chance

190. Wessan, Eric H.

191. Wharton, Kendra

192. Whitaker, Henry C.

193. Whitaker, Matthew

194. Whitman, Christine Todd

195. Wilson, Alan

196. Woodward, Stanley

197. WP Company LLC d/b/a The Washington Post

198. WPLG, Inc.

                                Respectfully submitted,


                                By:   /s/ Mark R. Freeman
                                      MARK R. FREEMAN
                                  x
                                       NOTICE

      Earlier this evening, January 9, this Court denied defendants’ emergency

motion to enjoin the Attorney General from publicly releasing any portion of the

Final Report of the Special Counsel. The Court further indicated that, “[t]o the extent

that Appellant seeks relief from the district court’s January 7, 2025, order temporarily

enjoining Appellant, Appellant may file a notice of appeal from that order.”

      We write to notify the Court that the United States has tonight filed a notice of

appeal from the district court’s order of January 7, 2025. See Dkt 686. As the Court

knows, that order temporarily enjoined the Department of Justice, the Attorney

General, the Special Counsel, and others from releasing or sharing the Special

Counsel’s Final Report “outside the Department of Justice” pending this Court’s

ruling on defendants’ emergency motion. Dkt. 682 at 2. The district court specified

that this prohibition would “remain[] in effect until three days after” this Court’s

resolution of defendants’ motion in this Court. Id.

      The United States respectfully renews its request that this Court vacate the

district court’s temporary injunction. After considering defendants’ fully briefed

motion and supporting amicus briefs, this Court concluded that defendants’ motion

for injunctive relief should be denied. For all of the same reasons, the district court

erred in granting the same injunction. As we have explained, the Attorney General

will not publicly release Volume Two of the Final Report while proceedings against

defendants remain pending. But the district court had no proper basis for preventing
                                            1
the Attorney General from making Volume Two available for in camera review by the

Chairmen and Ranking Members of the House and Senate Judiciary Committees,

pursuant to restrictions to protect confidentiality and subject to redactions to protect

information protected by Rule 6(e) and court orders. And the district court had no

basis at all for enjoining the public release of Volume One, which relates to a

prosecution that does not concern defendants and which, in any event, defendants

have identified no plausible merits theory for enjoining.

          Given the unusual exigencies of this case, as illustrated by the emergency

motions practice in both the district court and this Court, the United States

respectfully renews its request that this Court promptly vacate the district court’s

temporary injunction.1




      1
         The government’s notice of appeal, filed tonight, squarely invokes this Court’s
appellate jurisdiction. As soon as the new appeal is docketed in this Court, the United
States intends to move to have that appeal consolidated with this one. To the extent
there is any doubt concerning the Court’s authority to review the temporary
injunction, furthermore, we respectfully request that the Court construe our appeal as
a petition for a writ of mandamus. See Suarez-Valdez v. Shearson Leahman/American
Express, Inc., 858 F.2d 648, 649 (11th Cir. 1988) (holding that appeal can be construed
as a petition for mandamus if the Court harbors doubts as to its appellate
jurisdiction).
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                   Respectfully submitted,

                   BRIAN M. BOYNTON
                     Principal Deputy Assistant Attorney
                        General
                   MARKENZY LAPOINTE
                    United States Attorney
                   s/ Mark R. Freeman
                   MARK R. FREEMAN
                     Appellate Staff
                     Civil Division, Room 7519
                     U.S. Department of Justice
                     950 Pennsylvania Avenue NW
                     Washington, DC 20530
                     (202) 514-5714
                     Mark.freeman2@usdoj.gov

January 2025




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